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   10   NOBEL BIOCARE SERVICES AG and
   11   NOBEL BIOCARE USA, LLC

   12
   13                  IN THE UNITED STATES DISTRICT COURT
   14                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15                              SOUTHERN DIVISION
   16
   17   NOBEL BIOCARE SERVICES AG, a                )    Civil Action No.
        Swiss corporation, and NOBEL                )    SACV 14-1322 DOC (DFMx)
   18
        BIOCARE USA, LLC, a Delaware limited        )
        liability company,                          )    JOINT STATUS REPORT ON
   19                                               )    THE STATUS OF THE ITC
   20               Plaintiffs and                  )    PROCEEDINGS
                    Counterdefendants,              )
   21         v.                                    )    Hon. David O. Carter
                                                    )
   22                                               )
        NEODENT USA, INC., a Delaware
   23   corporation,                                )
                                                    )
   24               Defendant and                   )
                    Counterclaimant.                )
   25                                               )
                                                    )
   26   AND RELATED COUNTERCLAIMS
                                                    )
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    1              Pursuant to the Court’s December 5, 2014 Order (D.I. 35), Plaintiffs and
    2   Counterdefendants Nobel Biocare Services AG and Nobel Biocare USA, LLC
    3   (collectively, “Nobel”) and Defendant and Counterclaimant Neodent USA, Inc.
    4   (“Neodent”) respectfully submit this Joint Report on the Status of the ITC
    5   Proceedings, which concluded in October 2017.
    6              Since the filing of the last Joint Report on July 5, 2018, the Federal
    7   Circuit affirmed the Final Written Decision in the inter partes review
    8   proceeding of asserted U.S. Patent No. 8,714,977. The time to seek rehearing
    9   and rehearing en banc has not yet run, and Nobel presently plans to seek
   10   rehearing. Meanwhile, the parties are currently discussing a settlement which
   11   would resolve this action.
   12
   13                                     Respectfully submitted,
   14                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
   15   Dated: October 5, 2018            By:     /s/ Baraa Kahf
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   22
        Dated: October 5, 2018            By:     /s/ Nicola A. Pisano (with permission)
   23
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